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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DENISE DIAZ,                                                           ECF

                                      Plaintiff,                        13 CV 8281 (PAC)

                      -against-
                                                                        NOTICE OF MOTION
THE CITY OF THE NEW YORK, NEW YORK COUNTY
DISTRICT ATTORNEY’S OFFICE, THE NEW YORK
CITY POLICE DEPARTMENT, RAYMOND W. KELLY,
individually and in his capacity as the former Commissioner of
the New York City Police Department, JOSE FLORES,
individually and in his official capacity as Investigator for the
New York County District Attorney’s office, JOHN DOE
1,individaully and in his official capacity as Captain in the
NYPD, and JOHN DOE 2, individually and in his official
capacity as an Officer in the NYPD or the New York City
District Attorney’s Office,

                                     Defendants,


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and papers

herein, the undersigned will move this Court at the United States Courthouse, 500 Pearl Street, New

York, New York 10007, on May 12, 2014, or as soon thereafter as counsel may be heard, for an

order pursuant to 12(b)(1)&(6) of the Federal Rules of Civil Procedure dismissing the complaint as

to defendants and the New York County District Attorney’s Office for failure to state a claim upon

which relief may be granted, and for any other fair and equitable relief that may be appropriate.


                                                       CYRUS R. VANCE, JR.
                                                       District Attorney, New York County
                                                       as Special Assistant Corporation Counsel
                                                       One Hogan Place
                                                       New York, New York 10013
                                                       (212) 335-4364 (telephone)
                                                       (212) 335-4390 (facsimile)
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                                      By:   _______/S/____________________
                                            Maureen T. O’Connor (MO9099)
                                            Assistant District Attorney
                                                   Of Counsel


TO:   Theresa D’Andrea
      Assistant Corporation Counsel
      New York City Law Department
      100 Church Street
      New York, New York 10007


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